 Case 3:17-cr-01337-JLS Document 88 Filed 06/27/24 PageID.262 Page 1 of 3



 1   JUAN MARTIN CABRALES
     California State Bar No. 352220
 2   FEDERAL DEFENDERS OF SAN DIEGO, INC.
     225 Broadway, Suite 900
 3   San Diego, California 92101-5030
     Tel: (619) 234-8467 / Fax: (619) 687-2666
 4   Juan_Cabrales@fd.org
     Attorneys for Ranae N. Woodard
 5
 6
 7                         UNITED STATES DISTRICT COURT
 8                       SOUTHERN DISTRICT OF CALIFORNIA
 9                     (HONORABLE JANIS L. SAMMARTINO)
10
     UNITED STATES OF AMERICA,                   CASE NO.: 17CR-01337-JLS
11
                         Plaintiff,
12                                               MOTION TO COMPEL
           v.                                    DISCOVERY
13
     RANAE N. WOODARD,
14
                         Defendant.
15
16
17         On February 2, 2018, Ms. Woodard was sentenced to 54 months custody with
18   three years of supervised release to follow. Ms. Woodard began her term of
19   supervised release on January 1, 2022. On May 3, 2023, a probation officer filed a
20   petition asking the Court to revoke Ms. Woodard’s supervised. On April 20, 2024, a
21   probation officer filed an amended petition. The petitions allege that:
22      1. On or about April 5, 2023, Ms. Woodard was in possession of a controlled
23         substance, meth, for sale in violation of H&S § 11378 in San Bernadino
24         County.
25      2. On or about April 5, 2023, Ms. Woodard was in possession of a controlled
26         substance (meth) while armed with a firearm in violation of H&S § 11370.1(a)
27         in San Bernadino County.
28      3. On or about April 5, 2023, Ms. Woodard used a controlled substance, meth.
 Case 3:17-cr-01337-JLS Document 88 Filed 06/27/24 PageID.263 Page 2 of 3



 1
        4. On or about April 5, 2023, Ms. Woodard was manufacturing a controlled
 2
            substance (meth), in violation of H&S § 11379.6(A).
 3
 4
            Federal Rule of Criminal Procedure 32.1(b)(2)(B) provides that a person
 5
     alleged to have violated his supervised release is entitled to “disclosure of evidence
 6
     against the person.” Moreover, the Due Process Clause applies to supervised release
 7
     revocation hearings. See, e.g., Gagnon v. Scarpelli, 411 U.S. 778, 782 (1973); Morrisey, 408
 8
     U.S. 471. Under Due Process, Ms. Woodard has the right to receive and review any
 9
     evidence underlying the petition and relied upon by the Probation Office in
10
     requesting that the Court revoke supervised release.
11
            To date, no evidence against Ms. Woodard has been disclosed to the defense
12
     by the United States Probation office. Accordingly, Ms. Woodard hereby moves the
13
     Court to order the United States Probation Office to produce all evidence relating to
14
     the alleged violations, including but not limited to:
15
        • Any and all police reports related to allegations 1, 2, and 4;
16
        • Any and all reports, records, and other documents related to all allegations;
17
        • Any and all statements made by Ms. Woodard, including any audio captured
18
            by the patrol vehicle on April 5, 2023;
19
        • The identity and address of the confidential informant that officers relied
20
            upon for the warrant to search Sean Olan Buckwald’s home, to prepare for
21
            Ms. Woodard’s defense.
22
        • Any and all communications with Ms. Woodard about the alleged violations;
23
        • Any body camera footage of officers’ interactions with Ms. Woodard on April
24
            5, 2023.
25
        • Any and all photographic or documentary evidence related to Ms. Woodard’s
26
            arrest on April 5, 2023;
27
        • Any and all dispatch calls related to the arrest;
28
 Case 3:17-cr-01337-JLS Document 88 Filed 06/27/24 PageID.264 Page 3 of 3



 1
        • Any Brady material;
 2
        • And any other evidence in its possession or that it has access to related to the
 3
           alleged violation of supervised release.
 4
           For the foregoing reasons, Ms. Woodard respectfully requests that the Court
 5
     grant this motion to compel discovery.
 6
 7
                                              Respectfully submitted,
 8
 9   Dated: June 27, 2024                     s/ Juan M. Cabrales
                                              Federal Defenders of San Diego, Inc.
10                                            Attorneys for Ms. Woodard
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
